                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )       No. 2:13-CR-00046-10-JRG
                                                     )
TONY J. SNYDER                                       )

                         MEMORANDUM OPINION AND ORDER

       This matter is before the Court on Defendant Tony J. Snyder’s letter [Doc. 710], which

Mr. Snyder describes as “a motion for compassion release,” and the United States’ Response in

Opposition [Doc. 718]. Acting pro se, Mr. Snyder moves the Court to order his release because

his parents are in poor health. [Def.’s Mot. at 1]. The Court construes Mr. Snyder’s motion as one

for compassionate release under 18 U.S.C. § 3582(c)(1)(A).

       “[O]nce a court has imposed a sentence, it does not have the authority to change or

modify that sentence unless such authority is expressly granted by statute.” United States v.

Thompson, 714 F.3d 946, 948 (6th Cir. 2013) (quoting United States v. Curry, 606 F.3d 323, 326

(6th Cir. 2010)). Although § 3582(c) begins with the declaration that “[t]he court may not modify

a term of imprisonment once it has been imposed,” Congress enacted the First Step Act, Pub. L.

No. 115-319, 132 Stat. 5194 (2018), which amended § 3582(c)(1) so that courts can consider

motions for compassionate release once a defendant exhausts his administrative remedies with

the Bureau of Prisons or thirty days after submitting a request to the warden:

       The court may not modify a term of imprisonment once it has been imposed except
       that . . . the court, upon motion of the Director of the Bureau of Prisons, or upon
       motion of the defendant after the defendant has fully exhausted all administrative
       rights to appeal a failure of the Bureau of Prisons to bring a motion on the
       defendant’s behalf or the lapse of 30 days from the receipt of such a request by the
       warden of the defendant’s facility, whichever is earlier, may reduce the term of
       imprisonment[.]




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§ 3582(c)(1)(A). The United States argues that Mr. Snyder has not satisfied § 3582(c)(1)(A)’s

mandatory exhaustion requirement. [United States’ Resp. at 4].

       While the Court sympathizes with Mr. Snyder’s concerns, Mr. Snyder must provide the

Court with documentation showing that he has indeed petitioned the warden for compassionate

release. See United States v. Crawford, No. 2:18-cr-00075-3, 2020 WL 3050218, at *1 (S.D.

Ohio June 8, 2020) (denying the defendant’s motion for compassionate release because he

provided the court with “no documentation corroborating” that he had met § 3582(c)(1)(A)’s

exhaustion requirement); see also United States v. Dickson, No. 1:19-cr-251-17, 2020 WL

1904058, at *2 n.1 (N.D. Ohio Apr. 17, 2020) (stating that the defendant failed to demonstrate

that he satisfied § 3582(c)(1)(A)’s exhaustion requirement because he provided the court with

no documentation to that effect). Until then, the Court will be unable to consider Mr. Snyder’s

request for compassionate release. See United States v. Alam, 960 F.3d 831, 833–36 (6th Cir.

2020) (determining that § 3582(c)(1)(A)’s exhaustion requirement is mandatory and that courts

lack license to create a judge-made or an equitable exception to it). Mr. Snyder’s motion [Doc.

710] is therefore DENIED without prejudice.

       So ordered.

       ENTER:


                                                   s/J. RONNIE GREER
                                              UNITED STATES DISTRICT JUDGE




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